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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                             CASE NO.: 14-24887-MC-SEITZ/LOUIS

  IN RE APPLICATION OF
  HORNBEAM CORPORATION

  REQUEST FOR DISCOVERY PURSUANT
  TO 28 U.S.C. § 1782
  _____________________________________/

          APPLICANT, HORNBEAM CORPORATION, AND INTERVENORS,
         VADIM SHULMAN AND BRACHA FOUNDATION’S, STATUS REPORT

         Applicant, Hornbeam Corporation (“Hornbeam”), and Intervenors Vadim Shulman

  (“Shulman”) and Bracha Foundation (“Bracha”), (collectively, “Applicants”), file this Status

  Report in accordance with this Court’s Order dated January 6, 2019 (Doc. 349), and state:

         1.     Hornbeam commenced this proceeding on or about December 29, 2014 seeking

  discovery for use in anticipated foreign proceedings (Doc. 1), which this Court granted on

  February 11, 2015.

         2.     On July 17, 2018, Intervenors Panikos Symeou and Halliwel Assets, Inc., and

  Subpoena Respondents CC Metals and Alloys, Inc., Felman Production, LLC, Felman Trading,

  Inc., Georgian American Alloys, Inc., Mordechai Korf, Optima Acquisitions, LLC, Optima

  Group, LLC, Optima Fixed Income, LLC, Optima Ventures, LLC, Optima International of

  Miami, Inc., and 5251 36ST, LLC filed an appeal of this Court’s decision granting Hornbeam’s §

  1782 application (the “Appeal”).

         3.     On August 21, 2019, the undersigned counsel, Tucker H. Byrd and Scottie N.

  McPherson, filed their Notice of Appearance of Counsel for Applicants. (Doc. 339.)
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         4.      On November 8, 2019, the parties presented oral argument before the Eleventh

  Circuit Court of Appeals related to the Appeal.

         5.      On January 14, 2020, the Eleventh Circuit Court of Appeals issued an Order

  vacating and remanding the § 1782 order at issue, directing this Court to decide whether the

  discovery obtained in this proceeding should be destroyed given Applicants recent concession to

  the Southern District of New York that it will not be instituting a proceeding in the British Virgin

  Islands.

         6.      Much has transpired over the five years since Hornbeam initiated its § 1782

  Application contemplating proceedings in the British Virgin Islands, causing Applicants to

  expand their legal strategy beyond a shareholder oppression claim in the British Virgin Islands,

  and instead opting to bring an array of claims in Delaware against Igor Kolomoisky

  (“Kolomoisky”), Gannady Bogolyubov (“Bogolyubov”), and others. In light of the Eleventh

  Circuit’s recent decision, Applicants intend to petition the Court for leave to utilize the

  Responsive Documents obtained from this proceeding in their suit in Delaware.1

         7.      The Responsive Documents have not yet been destroyed and remain in possession

  awaiting further directions from the Court. In fact, the Applicants had filed a Motion to Further

  Extend the Deadline for the Destruction of Responsive Materials on August 9, 2019 (Doc. 335),

  which was never ruled upon, but in light of the Eleventh Circuit’s decision, Applicants will be

  asking the Court for leave to utilize the Responsive Documents.



                            <Certificate of Service on Following Page>




  1
   Hornbeam has already filed a similar motion in the Southern District of New York on November 27,
  2019.

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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 20, 2020, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system, which furnished a copy of the foregoing via

  electronic mail to all counsel of record.

                                              s/ Tucker H. Byrd
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